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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                            Chapter 11
                                    1
FTX TRADING LTD., et al.,                                         Case No. 22-11068 (JTD)

         Debtors.                                                 (Jointly Administered)

                                                                  Hearing Date: October 22, 2024 at 1:00 P.M. (ET)
                                                                  Obj. Deadline: October 14, 2024 at 4:00 P.M. (ET)

                                                                  Ref. Nos. 23925 & 23963



                                  CERTIFICATE OF NO OBJECTION

         The undersigned hereby certifies that, as of the date hereof, he has received no answer,

objection or other responsive pleading to the Debtors’ Sixty-Sixth (Non-Substantive) Omnibus

Objection to Certain Superseded Claims (Customer Claims) [D.I. 23925, redacted & 23963,

sealed] (the “Objection”) filed on August 28, 2024. The undersigned further certifies that he has

reviewed the Court’s docket in these cases and no answer, objection or other responsive pleading

to the Objection appears thereon. Pursuant to the notice, responses, if any, to the relief requested

in the Objection were to be filed and served on or before October 14, 2024, at 4:00 p.m. (ET).

         It is hereby respectfully requested that the proposed form of order attached to the Objection,

which shall be uploaded to CM/ECF in accordance with the Court’s electronic order processing

procedures, be entered at the Court’s earliest convenience.




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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